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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                           IN RE: CATHODE RAY TUBE (CRT)
                                   7       ANTITRUST LITIGATION                             MDL No. 1917

                                   8                                                        Case No. C-07-5944 JST

                                   9       This Order Relates To:                           ORDER RE MOTIONS IN LIMINE
                                                                                            RELEVANT ONLY TO THE SHARP
                                  10       Sharp Electronics Corp., et al. v. Hitachi       TRIAL
                                           Ltd., et al., Case No. 13-cv-1173
                                  11
                                           Sharp Electronics Corp., et al. v. Koninklijke
                                  12       Philips Elecs., N.V., et al., Case No. 13-cv-
Northern District of California




                                           2776
 United States District Court




                                  13

                                  14             The parties organized the pending motions in limine into nine categories. See ECF No.

                                  15   4603, Ex. A. This order addresses the first category, entitled “Motions Relevant Only to Sharp

                                  16   Trial,” which contains five motions: three filed jointly by Defendants, one filed by Toshiba

                                  17   Corporation, Toshiba America, Inc., Toshiba American Information Systems, Inc., and Toshiba

                                  18   America Electronic Components, Inc. (collectively, “Toshiba”), and one filed by Direct Action

                                  19   Plaintiffs (“DAPs”) Sharp Electronics Corporation (“SEC”) and Sharp Electronics Manufacturing

                                  20   Company of America, Inc. (“SEMA”) (collectively, “the Sharp DAPs”). Id. at A-1, A-2.

                                  21             Two of Defendants’ joint motions ask the Court to exclude evidence related to a violation

                                  22   of the antitrust laws under a rule of reason analysis, including the testimony of Sharp’s expert Dr.

                                  23   Jerry A. Hausman.1 ECF Nos. 3591 (“Expert Mot.”), 3593 (“Evidence Mot.”), ECF No. 3701-3

                                  24   (“RR Opp’n”), 3755 (“Expert Reply”), 3750 (“Evidence Reply”). Their third motion asks the

                                  25   Court to exclude evidence of any alleged color display tube (“CDT”) price-fixing conspiracy.2

                                  26   ECF No. 3574 (“CDT Mot.”), 3690-3 (“CDT Opp’n”), 3771-4 (“CDT Reply”). Toshiba’s motion

                                  27
                                       1
                                  28       Joint Defense Motions In Limine Nos. 9 and 15, respectively
                                       2
                                           Joint Defense Motion In Limine No. 10
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                                   1   asks the Court to preclude Sharp from introducing evidence and argument related to Sharp’s

                                   2   purchase of CRTs from Toshiba. ECF No. 3577 (“Toshiba Mot.”), ECF Nos. 3695-3 (“Toshiba

                                   3   Opp’n”), 3752-3 (“Toshiba Reply”). The Sharp DAPs’ motion asks the Court to exclude evidence

                                   4   of or reference to non-party Sharp Corporation’s (“Sharp Corp.”) guilty plea related to a

                                   5   conspiracy to fix the price of TFT-LCDs. The Sharp DAPs also ask the Court to exclude evidence

                                   6   of or reference to the role of any Sharp companies in the events underlying the In re TFT-LCD

                                   7   (Flat Panel) Antitrust Litigation multidistrict litigation matter, No. 07-MD-1827 (N.D. Cal.)

                                   8   (Illston, J.) (“LCD”), including reference to the expert report of Dr. Jerry Hausman in LCD and

                                   9   Sharp’s retention of Dr. Hausman in LCD. ECF No. 3599 (“Sharp Mot.”); (“Sharp Opp’n”),

                                  10   3778-3 (“Sharp Reply”).

                                  11            The motions are fully briefed and suitable for disposition without oral argument per Local

                                  12   Rule 7-1(b). The Court finds as follows:
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                                  13
                                       Motion                                                  Ruling
                                  14
                                       Joint Defendants’ Motions In Limine Nos. 9 and 15
                                  15   To Exclude Evidence Related To A Rule Of Reason         DENIED
                                       Analysis
                                  16
                                       Joint Defendants’ Motion In Limine No. 10 To
                                  17   Exclude Evidence Of Any Alleged CDT Conspiracy          DENIED

                                  18
                                       Toshiba Defendants’ Motion In Limine To Exclude
                                                                                               DENIED
                                  19   Evidence Of Toshiba’s Sales To Sharp Corporation

                                  20   Sharp’s Motion In Limine To Exclude Evidence Of
                                       Or Reference To Sharp Corp.’s Guilty Plea               GRANTED IN PART, DENIED IN PART
                                  21

                                  22
                                       I.       DEFENDANTS’ JOINT MOTIONS IN LIMINE NOS. 9 AND 15 TO EXCLUDE
                                  23            EVIDENCE RELATED TO A RULE OF REASON ANALYSIS
                                  24            Agreements to exchange information can serve as circumstantial evidence of a per se
                                  25   unlawful price fixing agreement. See In re Petroleum Prods. Antitrust Litig., 906 F 2d 432 (9th
                                  26   Cir. 1990). Separately, agreements to exchange information that are likely to affect prices may,
                                  27   under certain circumstances, be illegal in and of themselves under the rule of reason. See United
                                  28   States v. Container Corp. of America, 393 U.S. 333 (1969). Sharp alleged in its complaint that
                                                                                           2
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                                   1   Defendants agreed to fix prices and exchange competitive information. See ECF No. 119

                                   2   (“SAC”) ¶ 1 (emphasis added). Defendants claim, however, that Sharp’s complaint asserts only a

                                   3   per se theory of liability such that evidence regarding an agreement to exchange information is

                                   4   relevant only to the extent it is probative of an underlying agreement to fix prices.

                                   5          The instant motions ask the Court to bar Sharp from introducing evidence related to a

                                   6   violation of the antitrust laws under a rule of reason analysis. Defendants base their argument on

                                   7   the principle that a plaintiff should not be allowed to pursue a claim at trial that was not pleaded in

                                   8   its complaint. See Dream Games of Arizona, Inc. v. PC Onsite, 561 F.3d 983, 995 (9th Cir. 2009).

                                   9   Defendants also argue that Rule 403 of the Federal Rules of Evidence requires exclusion of rule of

                                  10   reason evidence because the probative value is substantially outweighed by the risk of unfair

                                  11   prejudice. Their motion turns, in part, on whether a violation of Section 1 based on the rule of

                                  12   reason is a distinct claim from a violation of Section 1 based on the per se rule or whether they are
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                                  13   merely different theories of liability for the same underlying claim. The Court finds they are not

                                  14   distinct claims. Defendants’ motion also turns on whether Sharp’s complaint limits Sharp to a per

                                  15   se theory of liability at this stage of the litigation. Because the complaint does not disclaim a rule

                                  16   of reason theory and because Sharp provided Defendants with sufficient notice of its rule of reason

                                  17   theory during discovery, the Court finds that Sharp may pursue a rule of reason theory at trial.

                                  18          Accordingly, Defendants’ joint motions in limine, numbers 9 and 15, are DENIED.

                                  19          A.      Facts
                                  20          The first paragraph of Sharp’s initial complaint states that “Sharp brings this action to

                                  21   recover damages on account of the antitrust injuries it incurred as a result of a long-running

                                  22   conspiracy by suppliers of cathode ray tubes (“CRTs”) to coordinate and fix the price of CRTs

                                  23   and exchange detailed competitive information.” Case No. 13-cv-1173, ECF No. 1 (“Sharp

                                  24   Compl.”) ¶ 1 (emphasis added). Sharp’s “First Claim for Relief” is entitled “Violation of Section

                                  25   1 of the Sherman Act.” Id. at 70. Although the First Claim for Relief does not specify whether

                                  26   the alleged violation of Section 1 was illegal per se or under the rule of reason, it states “[i]n

                                  27   particular, [that] Defendants have combined and conspired to raise, fix, maintain or stabilize prices

                                  28   of CRTs sold in the United States.” Id. ¶ 236. It goes on to allege that “[f]or purposes of
                                                                                          3
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                                   1   formulating and effectuating their . . . conspiracy, Defendants . . . conspired to . . . exchange[]

                                   2   competitive sensitive information in order to facilitate their conspiracy.” Id. ¶ 239(f). The rest of

                                   3   Sharp’s complaint describes the alleged conspiracy as primarily one to fix prices, and information

                                   4   exchanges are mentioned only in the context of describing how the price-fixing conspiracy was

                                   5   carried out. See, e.g., id. ¶ 140 (“The CRT conspiracy was effectuated through a combination of

                                   6   group and bilateral meetings . . . Competitively sensitive information on pricing, production

                                   7   capacity, product mix and customer information was exchanged.”). The pertinent parts of Sharp’s

                                   8   first and second amended complaints (hereafter, “FAC” and “SAC”) are identical to the initial

                                   9   complaint.

                                  10          The timing of events leading up to the filing of the instant motions is relevant. In June

                                  11   2013, Defendants Hitachi and Samsung SDI served an interrogatory on Sharp seeking the factual

                                  12   basis for its allegation that Defendants conspired to fix or stabilize the price of CRTs. In February
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                                  13   2014, Sharp served supplemental interrogatory responses on all Defendants, stating that

                                  14   Defendants

                                  15          conspired . . . to fix, raise, maintain and stabilize the price at which CRTs were sold
                                              in the United States, constituting a per se violation of antitrust law, and/or to
                                  16          exchange competitively sensitive information which caused prices for CRTs sold in
                                              the United States to be at anticompetitive levels, constituting a violation of antitrust
                                  17          law under a rule of reason analysis.

                                  18   ECF No. 3701-14 (“Suppl. Rog. Resp.”) at 15 (emphasis added). Sharp also stated that “the

                                  19   relevant product market in this case is CPTs,” and “the relevant geographic market is at least

                                  20   North America.” Id. at 15-16. At that time, over six months remained in the discovery period,

                                  21   and Defendants had not taken any depositions of Sharp witnesses. Sixty-two depositions of

                                  22   Defendants’ current or former employees, however, had already taken place. Thereafter,

                                  23   Defendants propounded forty sets of discovery requests and took six depositions of witnesses who

                                  24   testified for or on behalf of Sharp.

                                  25          Expert discovery began in April 2014, at which point Sharp served Defendants with the

                                  26   expert report of Dr. Jerry Hausman. Dr. Hausman’s report discussed evidence of information

                                  27   exchanges and explained the effect of those information exchanges. ECF No. 3701-10 (“Hausman

                                  28   Report”). It set out the relevant product and geographic markets and concluded that Defendants’

                                                                                          4
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                                   1   information exchanges had the anticompetitive effect of increasing prices for CPTs. In June – two

                                   2   two months after serving Defendants with Dr. Hausman’s report – Sharp filed its SAC, the

                                   3   operative complaint in this action.

                                   4          In July 2014, Defendants deposed Dr. Hausman. During his depositions, the phrase

                                   5   “information exchange” was used 163 times. Further, Defendants asked Dr. Hausman if he

                                   6   thought information exchanges on price were per se anticompetitive, and he said no. ECF No.

                                   7   3701-12 (“Hausman 7/23/2014 Depo.”) 257:13-259:12. Defendants also asked him questions

                                   8   relating to the potential procompetitive benefits of information exchanges. Id. at 196:9-11, 242:4-

                                   9   13, 264:19-24. Finally, Defendants asked him questions regarding the relevant product and

                                  10   geographic markets. Id. at 43:20-44:6, 227:14-16, 229:10-13.

                                  11          In August 2014, Defendants submitted the report of their reply expert, Professor Dennis

                                  12   W. Carlton. ECF No. 3701-14 (“Carlton Report”). Dr. Carlton’s report analyzed whether
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                                  13   Defendants’ exchange of information resulted in higher prices. See id. ¶ 67. Dr. Carlton also

                                  14   noted that information exchanges are not necessarily anticompetitive. Id. ¶ 68; see also ECF No.

                                  15   3701-16 (“Carlton 9/16/2016 Depo.”) 407:2-21 (testifying that information exchanges should not

                                  16   be treated as per se illegal as a matter of economic policy).

                                  17          The instant motions in limine were filed on February 13, 2015.

                                  18          B.      Legal Standard
                                  19          Federal Rule of Civil Procedure 8(a) states that a complaint only requires a “short and

                                  20   plain statement of the claim showing that the pleader is entitled to relief.” Further, the Ninth

                                  21   Circuit has held that “[a] party need not plead specific legal theories in the complaint, so long as

                                  22   the other side receives notice as to what is at issue in the case.” Edwards v. Cty. of San Diego,

                                  23   124 F. App'x 547, 548 (9th Cir. 2005) (quoting Sagana v. Tenorio, 384 F.3d 731, 736-37 (9th Cir

                                  24   2004)). Finally, the Ninth Circuit has repeatedly emphasized that the “simplified notice pleading

                                  25   standard relies on liberal discovery rules and summary judgment motions to define disputed facts

                                  26   and issues and to dispose of unmeritorious claims.” Id. (quoting Swierkiewicz v. Sorema N.A.,

                                  27   534 U.S. 506, 512 (2002)) (emphasis added).

                                  28
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                                               C.     Discussion
                                   1
                                               To establish a violation of Section 1 of the Sherman Act, a plaintiff must prove (1) the
                                   2
                                       existence of a contract, combination or conspiracy, (2) that the contract, combination or
                                   3
                                       conspiracy unreasonably restrains trade (hereafter, the “Unreasonable Restraint Element”), (3) that
                                   4
                                       the restraint affects interstate or foreign commerce, and (4) that the restraint caused plaintiff to
                                   5
                                       suffer an injury to its business or property. See 15 U.S.C. §§ 1, 7; ABA Section of Antitrust Law,
                                   6
                                       Model Jury Instruction in Civil Antitrust Cases, Instruction 2 (2016). The Unreasonable Restraint
                                   7
                                       Element of a Section 1 claim typically requires an analysis of the restraint’s actual effect on
                                   8
                                       competition in a relevant market; this is known as the rule of reason. See, e.g., Nat’l Soc’y of
                                   9
                                       Prof’l Eng’rs v. United States, 435 U.S. 679, 692 (1978) (evaluating the “competitive effect” of
                                  10
                                       the agreement under the rule of reason). Some categories of restraints, however, such as
                                  11
                                       horizontal price fixing, are conclusively presumed to be unreasonable without analysis of the
                                  12
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                                       market in which they occurred, study of their actual effect on competition, or evaluation of the
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                                  13
                                       purpose for their use. Because such agreements can rarely (if ever) be justified, courts have
                                  14
                                       determined that such agreements should be considered unreasonable per se (hereafter, the “per se
                                  15
                                       rule”). See Broad. Music, Inc. v. SBS, 441 U.S. 1, 19-20 (1979).
                                  16
                                               Defendants argue that allegations falling within the purview of the per se rule constitute a
                                  17
                                       claim distinct from those falling within the rule of reason. They point out that a plaintiff who
                                  18
                                       relies on the rule of reason is required to plead facts that establish a relevant product market, a
                                  19
                                       relevant geographic market, and anticompetitive harm. Because a plaintiff who relies on the per
                                  20
                                       se rule does not need to plead such facts, Defendants assert that they are distinct claims.3 The
                                  21
                                       Court disagrees.
                                  22
                                               The per se rule is not a distinct claim; it is an analytical shortcut that removes the need for
                                  23

                                  24
                                       3
                                         The cases cited by Defendants in support of this assertion are inapposite. In Pierson v. Orlando
                                  25   Reg’l Healthcare Sys., Inc., 619 F. Supp. 2d 1260, 1274 (M.D. Fla. 2009), the court found the
                                       pleading insufficient where plaintiff attempted to allege two separate violations of the Sherman act
                                  26   in one count. In that case, however, the two separate violations included a violation of Section 1
                                       and a violation of Section 2 – distinct claims indeed. Cason-Merenda v. Detroit Med. Center, 862
                                  27   F. Supp. 2d 603, 605, 641 (E.D. Mich. 2012) is an example where a plaintiff decided to plead its
                                       per se and rule of reason theories separately. That case, however, does not stand for the
                                  28   proposition that they must be pleaded separately.
                                                                                          6
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                                   1   an in-depth analysis to determine whether a plaintiff has satisfied the Unreasonable Restraint

                                   2   Element of a Section 1 claim.4 That it is not a distinct claim is demonstrated by the fluidity of its

                                   3   application in hard cases. As the Third Circuit explained,

                                   4
                                               the respective analyses conducted under the rule of reason, per se, and quick look
                                   5           standards are not categorically different. In every case, “the essential inquiry” is
                                               “whether or not the challenged restraint enhances competition.” Cal. Dental, 526
                                   6           U.S. at 780, 119 S.Ct. 1604 (internal quotation marks omitted). Under a traditional
                                               rule-of-reason analysis, a court requires “actual market analysis,” id. at 779–80,
                                               119 S.Ct. 1604, and carefully balances all of the factors bearing on that ultimate
                                   7           question. In applying per se or quick look analysis, courts make judgments based
                                               on judicial experience with certain types of restraints and market contexts, without
                                   8           demanding such extensive inquiry into the market in which the specific restraint at
                                               issue operates. But “there is often no bright line separating” the three standards.
                                   9           Id. at 779, 119 S.Ct. 1604 (quoting NCAA, 468 U.S. at 104 n. 26, 104 S.Ct. 2948).
                                               “What is required . . . is an enquiry meet for the case, looking to the circumstances,
                                  10           details, and logic of a restraint. The object is to see whether the experience of the
                                               market has been so clear, or necessarily will be, that a confident conclusion about
                                  11           the principal tendency of a restriction will follow from a quick (or at least quicker)
                                               look, in place of a more sedulous one.” Id. at 781, 119 S.Ct. 1604.
                                  12
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                                  13   In re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 318 n.14 (3d Cir. 2010). Thus, for a plaintiff,

                                  14   pleading facts that fall within the per se rule is but one way to satisfy the Unreasonable Restraint

                                  15   Element of a Section 1 claim. Regardless of whether the per se rule is employed as a theory of

                                  16   liability, however, the elements of a Section 1 claim remain the same.5

                                  17           Here, Sharp alleged a violation of Section 1 based on an agreement to fix prices and an

                                  18   agreement to exchange competitive information. As mentioned, information exchanges among

                                  19   competitors can be probative of a per se illegal conspiracy to fix prices or potentially illegal in and

                                  20   of themselves under the rule of reason. Even though Sharp did not limit itself to either approach –

                                  21   indeed, the phrases “per se” and “rule of reason” are not found anywhere in the complaint –

                                  22   Defendants appear to have assumed that Sharp would only pursue a per se theory. Even if that

                                  23

                                  24   4
                                         The doctrine of res ipsa loquitur in negligence is a helpful analogue. That a plaintiff might rely
                                  25   on res ipsa to prove negligence does not transform it into something other than a negligence claim.
                                       5
                                         Defendants assert the rule of reason and per se rule constitute distinct claims because a plaintiff
                                  26   must plead additional “elements” in order make out a rule of reason “claim” – specifically, facts
                                       that establish a relevant product market, a relevant geographic market, and anticompetitive harm.
                                  27   While it is true that a plaintiff must plead such facts in order to make out a Section 1 claim based
                                       on a rule of reason theory, these are not additional elements. The same “elements” exist when
                                  28   plaintiffs rely on a per se theory; they are just presumed satisfied as a matter of law.
                                                                                          7
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                                   1   assumption might have been reasonable initially, it became unreasonable in February 2014 when

                                   2   Defendants were given clear notice in Sharp’s interrogatory responses of Sharp’s intention to

                                   3   pursue a rule of reason theory. See Suppl. Rog. Resp. at 15 (stating that Defendants “exchanged

                                   4   competitively sensitive information which caused prices for CRTs sold in the United States to be

                                   5   at anticompetitive levels, constituting a violation of the antitrust laws under a rule of reason

                                   6   analysis”) (emphasis added); see also Hausman Report (detailing the economic basis for Sharp’s

                                   7   rule of reason theory as of April 2014).

                                   8           Defendants argue that even if they were given notice through Sharp’s discovery responses,

                                   9   that notice was negated when Sharp filed its SAC in June 2014. The SAC, they argue,

                                  10   overwhelmingly focuses on allegations relating to a price fixing conspiracy, which is analyzed

                                  11   under the per se rule. This argument is not convincing.

                                  12           True, most of the allegations in the SAC relate to an alleged conspiracy to fix prices, just
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                                  13   as they did in Sharp’s previously filed complaints, but nowhere does Sharp disclaim a rule of

                                  14   reason theory (or expressly assert a per se theory, for that matter). Nor are Sharp’s price fixing

                                  15   allegations inconsistent with its allegations that Defendants agreed to exchange information.

                                  16   Indeed, the SAC states expressly that Sharp was alleging a violation of Section 1 based on an

                                  17   agreement to both “coordinate and fix the price of CRTs and exchange detailed competitive

                                  18   information.” SAC ¶ 1 (emphasis added). Moreover, even if the Court were to assume, arguendo,

                                  19   that the SAC did not sufficiently notify Defendants of its rule of reason theory, it was

                                  20   unreasonable for Defendants – having several months before received ample notice through

                                  21   discovery of Sharp’s intention to pursue a rule of reason theory – to assume that the SAC’s

                                  22   ambiguity on this point meant that Sharp no longer intended to pursue it. Having been provided

                                  23   notice, if Defendants believed Sharp’s rule of reason theory was insufficiently pleaded,

                                  24   Defendants could have filed a motion to dismiss. The Court declines to speculate on whether

                                  25   Defendants would have succeeded if they had filed such a motion,6 but what is clear is that filing a

                                  26
                                       6
                                  27     On the one hand, a plaintiff is not required to plead its legal theories so long as it satisfies the
                                       elements of a Section 1 claim. See Edwards, 124 F. App'x at 548. After all, discovery is the
                                  28   appropriate means to determine a party’s theories, not motions to dismiss (let alone motions in
                                       limine on the eve of trial). On the other hand, if Sharp had failed to sufficiently plead a relevant
                                                                                           8
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                                   1   motion in limine at this late stage is improper, even assuming certain pleading inadequacies in the

                                   2   SAC.7

                                   3           Defendants cite Texaco Inc. v. Dagher, 547 U.S. 1 (2006) for the proposition that “[w]hen

                                   4   a plaintiff fails on a per se claim, courts do not revert to a rule of reason analysis unless

                                   5   specifically pleaded.” Expert Mot. at 10. Defendants mischaracterize the issue. Sharp is not

                                   6   pleading in the alternative; it is aalleging both that Defendants conspired to fix prices and that they

                                   7   conspired to share information – allegations that could potentially establish liability under both the

                                   8   per se rule and the rule of reason.8 Thus, it is not accurate to claim that the Court would be

                                   9   “reverting” to a rule of reason analysis if Sharp failed on its per se theory. Regardless, Dagher

                                  10   does not support Defendants’ argument. In Dagher, the plaintiff specifically pleaded a per se

                                  11   theory of liability and expressly disclaimed a rule of reason theory. See id. at 7 n.2; Dagher v.

                                  12   Saudi Ref., Inc., 369 F.3d 1108, 1113 (9th Cir. 2004), rev'd sub nom. Texaco Inc. v. Dagher, 547
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                                  13   U.S. 1 (2006) (“The plaintiffs disclaimed any reliance on the traditional “rule of reason” test,

                                  14   instead resting their entire claim on either the per se rule or a “quick look” theory of liability.”).

                                  15   Here, Sharp did not specifically plead or expressly disclaim either theory of liability.

                                  16           Defendants also cite Howard Hess Dental Labs, Inc. v. Dentsply Int’l, Inc., 602 F.3d 237,

                                  17

                                  18   product market, a relevant geographic market, or anticompetitive harm (an issue on which the
                                       Court does not reach), it is possible the Court would have dismissed the SAC to the extent it relied
                                  19   on a rule of reason theory.
                                       7
                                  20     Relatedly, Defendants claim that had they known during the motion to dismiss phase that Sharp
                                       was going to pursue a rule of reason theory, they would have filed a motion to dismiss the SAC
                                  21   for failure to plead sufficient facts to satisfy the Unreasonable Restraint Element under a rule of
                                       reason analysis. But Defendants did know, or at least they should have known, and their failure to
                                  22   take action at the motion to dismiss phase is one reason the Court must deny their motions in
                                       limine.
                                       8
                                  23     Certain agreements to restrain trade can be analyzed under the per se rule, the rule of reason, or
                                       something in between (often called “quick look”) depending on whether any plausible
                                  24   procompetitive justifications exist. See, e.g., Broadcast Music, Inc. v. CBS, 441 U.S. 1 (1970)
                                       (analyzing an agreement that literally fixed prices under the rule of reason because of its
                                  25   procompetitive benefits). Plaintiffs in such cases often plead in the alternative by claiming that
                                       defendants’ conduct ought to be considered illegal per se, but even if it is not, that it is illegal
                                  26   under the rule of reason. Here, Sharp is not arguing that Defendants are liable under the per se
                                       rule, or in the alternative, under the rule of reason. They are arguing that Defendants are liable
                                  27   under the per se rule as a result of their agreement to fix prices and that they are liable under the
                                       rule of reason as a result of their agreement to exchange information. Separately, they are alleging
                                  28   that evidence of information exchanges is probative of a per se illegal conspiracy to fix prices.
                                                                                           9
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                                   1   257 (3d Cir. 2010). See Evidence Mot. at 4. In Dentsply, plaintiffs alleged a hybrid of both

                                   2   vertical and horizontal conspiracies among Dentsply and its dealers – a so-called “hub-and-spoke”

                                   3   conspiracy, wherein Dentsply served as the hub and its dealers as the spokes. See id. at 255. The

                                   4   complaint stated “in a conclusory manner that all of the defendants . . . conspired and knew about

                                   5   the [conspiracy],” but did not provide “any factual allegations to plausibly suggest . . . any degree

                                   6   of coordination among the Dealers.” Id. at 255-56 (emphasis added). In response to a motion to

                                   7   dismiss on this issue, plaintiffs “tried to hedge their bets” by arguing “that even if they [had] not

                                   8   adequately alleged an overarching conspiracy between and among Dentsply and all of its Dealers,

                                   9   they at least [had] adequately alleged several bilateral, vertical conspiracies between Dentsply and

                                  10   the Dealers” – a so-called “rimless” hub-and-spoke conspiracy. Id. at 256. The Third Circuit

                                  11   held, however, that even if plaintiffs’ rimless conspiracy theory “is legally viable or even relevant

                                  12   here, the Plaintiffs cannot pursue it under the circumstances of this case because the amended
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                                  13   complaint cannot be fairly understood to allege the existence of several unconnected, bilateral,

                                  14   vertical conspiracies.” Id. (emphasis added). “In other words,” wrote the court, “the Plaintiffs

                                  15   simply did not draft their amended complaint to encompass their alternative legal theory.” Id.; see

                                  16   also id. (holding that the plaintiffs were “bound by the four corners of their amended complaint

                                  17   which clearly seeks to allege one conspiracy to which Dentsply and all of the Dealers, as a

                                  18   collective, were parties”).

                                  19          Dentsply is distinguishable. First, the complaints differ in important respects. Whereas

                                  20   there was “no indication of the Plaintiffs’ intention to allege that every single agreement between

                                  21   Dentsply and each Dealer had anticompetitive effects,” id. at 256, Sharp repeatedly alleged

                                  22   anticompetitive effects, even though it did not need to under a per se theory, see, e.g., SAC ¶¶ 2,

                                  23   145, 222, 251 (alleging an increase in price). Second, the context is different. Whereas the

                                  24   alternative theory put forth by the plaintiffs in Dentsply was an attempt to “recast[] their

                                  25   allegations in an effort to circumvent a motion to dismiss,” Dentsply, 602 F.3d at 257, here, the

                                  26   Defendants are attempting to prevent Sharp from pursuing a particular legal theory about which

                                  27   Defendants were given ample notice. Third, the different procedural postures are significant.

                                  28   Dentsply involved a motion to dismiss. Defendants, however, raise this issue in a motion in limine
                                                                                         10
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                                   1   on the eve of trial.

                                   2             Defendants assert they could not have brought a motion to dismiss because Sharp’s SAC

                                   3   did not provide any indication that Sharp was going to pursue a rule of reason theory given its

                                   4   overwhelming focus on allegations related to a conspiracy to fix prices (which is analyzed under

                                   5   the per se rule). Although there is at least some indication in the complaint that Sharp might

                                   6   pursue a rule of reason theory, see, e.g., SAC ¶ 1, courts “have an obligation to read allegations

                                   7   not in isolation but as a whole and in context.” Dentsply, 602 F.3d at 256. At this stage in the

                                   8   litigation on a motion in limine, however, the salient question is not whether the allegations, when

                                   9   read as a whole, suggest that Sharp was going to pursue a rule of reason theory. Regardless of

                                  10   what might be considered a “fair reading” of the SAC, Defendants were provided notice of

                                  11   Sharp’s rule of reason theory during discovery. Further, they could have filed a motion to dismiss

                                  12   the SAC, which was filed after Defendants received notice of Sharp’s rule of reason theory. And
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                                  13   although it is true that a plaintiff cannot pursue a claim at trial that was not pleaded in its

                                  14   complaint, as already explained, the per se rule and the rule of reason are legal theories, not

                                  15   distinct claims.

                                  16             Defendants’ joint motions in limine, numbers 9 and 15, are therefore DENIED.

                                  17   II.       DEFENDANTS’ JOINT MOTION IN LIMINE NO. 10
                                  18             CRTs are produced as Color Picture Tubes (“CPTs”), often used in televisions, and Color

                                  19   Display Tubes (“CDTs”), often used for computer monitors or small screen devices. Sharp alleges

                                  20   a single conspiracy to fix the price of cathode ray tubes (“CRTs”). Because Sharp only purchased

                                  21   CPTs and never purchased CDTs, Defendants argue evidence relating to CDTs is irrelevant to

                                  22   Sharp’s claims and would mislead the jury, confuse the issues, and foster undue delay.

                                  23   Accordingly, the instant motion seeks to exclude Sharp from introducing at trial any evidence of

                                  24   anticompetitive conduct relating to CDTs under Federal Rules of Evidence 401, 402, 403, and

                                  25   404(b).

                                  26             The Court does not agree that CDT-related evidence is irrelevant or unduly prejudicial. In

                                  27   the words of the District of the District of Columbia,

                                  28
                                                                                          11
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                                              [D]efendants’ arguments are based on the assumption that there could not have
                                   1          been a single conspiracy. They claim there were multiple conspiracies, if any
                                              existed at all. [D]efendants improperly re-characterize [Sharp’s] allegations.
                                   2          [Sharp has] not alleged multiple conspiracies – they have alleged a single price
                                              fixing conspiracy as to [CRTs]. As the Supreme Court stated: “[T]he character and
                                   3          effect of a conspiracy are not to be judged by dismembering it and viewing its
                                              separate parts but only by looking at it as a whole.” Continental Ore Co. v. Union
                                   4          Carbide & Carbon Co., 370 U.S. 690, 699, 82 S.Ct. 1404, 8 L.Ed.2d 777 (1962).

                                   5
                                       In re Vitamins Antitrust Litig., 209 F.R.D. 251, 265 (D.D.C. 2002).
                                   6
                                              Here, there is at least a genuine dispute of material fact as to whether there was a single
                                   7
                                       conspiracy encompassing CRTs in general or whether there were two separate conspiracies, one
                                   8
                                       for CDTs and one for CPTs. See ECF No. 4937. If the jury determines there was a single
                                   9
                                       conspiracy to fix the prices of CRTs in general, the distinction Defendants’ motion attempts to
                                  10
                                       draw between CPTs and CDTs is meaningless because both CPTs and CDTs are CRTs. Evidence
                                  11
                                       of misconduct regarding CDTs would therefore be just as relevant and no more likely to mislead,
                                  12
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                                       confuse, or cause undue delay as evidence of misconduct regarding CPTs because both are
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                                  13
                                       probative of misconduct regarding a conspiracy to fix the price of CRTs.
                                  14
                                              Defendants’ motion in limine, number 10, is therefore DENIED.
                                  15

                                  16   III.   TOSHIBA DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE EVIDENCE OF
                                              TOSHIBA’S SALES TO SHARP CORPORATION
                                  17
                                              Judge Conti, the undersigned’s predecessor in this matter, dismissed Sharp’s first amended
                                  18
                                       complaint because a forum selection clause in the “Basic Transaction Agreement” or “BTA”
                                  19
                                       entered into by the parties’ Japan-based parent corporations stated that litigation related to
                                  20
                                       purchases between Toshiba and Sharp had to be adjudicated in Japan. See ECF No. 2435 (“MTD
                                  21
                                       Order”) at 2. Judge Conti granted Sharp leave to file a second amended complaint, however,
                                  22
                                       because the BTA, although barring Sharp’s claims as to transactions between Sharp and Toshiba,
                                  23
                                       did “not render Sharp’s claims against Toshiba for joint and several liability [based on purchases
                                  24
                                       Sharp made from Toshiba’s alleged coconspirators] subject to dismissal under the forum-selection
                                  25
                                       clause.” SAC Order at 8. Toshiba now argues that all evidence relating to the Sharp-Toshiba
                                  26
                                       customer relationship should be excluded even though some of that evidence may be relevant for
                                  27
                                       other purposes. Because Toshiba’s argument is overbroad, its motion is DENIED.
                                  28
                                                                                         12
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                                   1          “Motions in limine must identify the evidence at issue and state with specificity why such

                                   2   evidence is inadmissible.” Colton Crane Co. v. Terex Cranes Wilmington, Inc., No. CV 08-8525,

                                   3   2010 WL 2035800, at *1 (C.D. Cal. May 19, 2010); see also Server Tech., Inc. v. Am. Power

                                   4   Conversion Corp., No. 3:06-cv-698, 2014 WL 1308617, at *6 (D. Nev. Mar. 31, 2014) (“[T]he

                                   5   court finds APC’s motion in limine #6 to be premature. At this time the court doesn’t know the

                                   6   context in which the evidence will be proffered . . . .”).

                                   7          Toshiba asserts that all evidence related to Sharp’s purchases from Toshiba necessarily

                                   8   contradicts the law of the case, is irrelevant, and invites jury confusion. See Toshiba Mot. at 1-3

                                   9   (citing Fed. R. Evid. 402, 403). Judge Conti’s prior orders do not establish the law of the case on

                                  10   this issue. The MTD and SAC Orders limit Toshiba’s potential liability to purchases Sharp made

                                  11   from Toshiba’s coconspirators, but they do not otherwise address admissibility. The use of

                                  12   evidence relating to Sharp’s purchases from Toshiba for other purposes, therefore, does not
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                                  13   contradict the law of the case.

                                  14          Further, such evidence is not necessarily irrelevant. Evidence is relevant if “it has any

                                  15   tendency to make a fact more or less probable than it would without the evidence.” Fed. R. Evid.

                                  16   401. As Sharp points out, certain evidence referring to Sharp’s purchases from Toshiba may be

                                  17   relevant to prove Toshiba’s participation in the conspiracy, to calculate overcharge rates, or to

                                  18   prove other aspects of Sharp’s case. See Toshiba Opp’n at 3-5.

                                  19          Nor will the use of evidence relating to Sharp’s purchases from Toshiba necessarily

                                  20   confuse the issues. The jury will be instructed not to consider Sharp’s purchases from Toshiba in

                                  21   calculating damages. Toshiba fails to explain, however, how any evidence relating to the Sharp-

                                  22   Toshiba customer relationship, even if it is relevant for other purposes, is likely to cause the jury

                                  23   to disregard such an instruction.

                                  24          Accordingly, Toshiba’s motion is DENIED.

                                  25
                                       IV.    SHARP’S MOTION IN LIMINE TO EXCLUDE EVIDENCE RELATED TO THE
                                  26          ROLE OF SHARP IN THE TFT-LCD ANTITRUST LITIGATIONS
                                  27          On November 12, 2008, non-party Sharp Corp. pled guilty to participating in a conspiracy

                                  28   to fix the price of TFT-LCDs (“LCD Conspiracy”). The non-prosecution protection afforded to
                                                                                          13
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                                   1   Sharp Corp. as part of its plea extended to SEC and SEMA. Separately, Sharp Corp. and SEC

                                   2   were defendants in the LCD multidistrict litigation. In this case, the Sharp DAPs are plaintiffs

                                   3   seeking to recover damages they claim were caused as a result of a separate conspiracy to fix the

                                   4   price of cathode ray tubes (“CRTs”). The instant motion relates to whether Defendants can

                                   5   introduce evidence or make reference to the role of any of the Sharp companies’ (including non-

                                   6   party Sharp Corp.’s) involvement in the LCD Conspiracy.

                                   7          The Sharp DAPs argue that evidence of the actions of Sharp in LCD is irrelevant, unfairly

                                   8   prejudicial, and likely to waste time and lead to confusion. See Sharp Mot. at 5-10 (citing Fed. R.

                                   9   Evid. 402, 403). Defendants counter that “Sharp’s participation in the LCD conspiracy is directly

                                  10   relevant to an essential element of Sharp’s claims – whether Defendants’ alleged conduct or

                                  11   Sharp’s own conduct was the cause of at least some of the CRT damages Sharp now seeks to

                                  12   recover.” Sharp Opp’n at 1-2.
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                                  13          “For evidence to be relevant it must be probative of the proposition it is offered to prove,

                                  14   and . . . the proposition to be proved must be one that is of consequence to the determination of the

                                  15   action.” United States v. Dean, 980 F.2d 1286, 1288 (9th Cir. 1992). Antitrust violations by a

                                  16   plaintiff, however, are generally irrelevant to whether a defendant is liable for its own violations.

                                  17   See Kiefer-Stewart Co. v. Joseph E. Seagram & Sons, Inc., 340 U.S. 211, 214 (1951), overruled

                                  18   on other grounds, Copperweld Corp. v. Independence Tube Corp., 467 U.S. 752, 781-82 (1984).

                                  19          Defendants point to the testimony of the Sharp DAPs’ expert, Dr. Hausman, wherein he

                                  20   explains the economic relationship between the LCD and CRT conspiracies and the impact the

                                  21   LCD Conspiracy had on the anticompetitive effects of the CRT conspiracy. See Sharp Opp’n at 5-

                                  22   6. The Sharp DAPs respond that Defendants’ argument “at most” supports “the admission of

                                  23   evidence that CRT prices were affected by the alleged LCD conspiracy – not that Sharp

                                  24   companies were involved in the alleged conspiracy, which has no bearing on the economic effect

                                  25   (or lack thereof), and serves only to prejudice the Sharp Plaintiffs.” Sharp Reply at 2. The Court

                                  26   agrees with the Sharp DAPs and GRANTS their motion on this issue. Although the existence of

                                  27   the LCD Conspiracy may be relevant to damages, Defendants do not explain why the Sharp

                                  28   companies’ participation in that conspiracy is relevant. Defendants are therefore ORDERED (1)
                                                                                         14
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                                   1   not to introduce evidence of or make reference to Sharp Corp.’s guilty plea related to the LCD

                                   2   Conspiracy and (2) not to introduce evidence of or make reference to the role of any Sharp

                                   3   companies in the LCD Conspiracy.

                                   4          The Sharp DAPs also ask the Court to exclude any reference to the expert report of Dr.

                                   5   Hausman in LCD and Sharp’s retention of Dr. Hausman in LCD. Defendants respond that Dr.

                                   6   Hausman’s report in LCD is relevant for impeachment purposes insofar as it is inconsistent with

                                   7   or contradictory to the opinion he offers at trial. See Sharp Opp’n at 7 (citing Ortiz-Lopez v.

                                   8   Sociedad Espanola de Auxilio Muto y Benefiencia de P.R., 248 F.3d 29, 34-35 (1st Cir. 2001)).

                                   9   The Sharp DAPs’ reply that Dr. Hausman’s opinions are not inconsistent, and even if they were,

                                  10   “the fact that Dr. Hausman offered opinions in connection with the alleged LCD conspiracy on

                                  11   behalf of Sharp companies remains irrelevant – it has no bearing at all on whether those opinions

                                  12   are inconsistent with the opinions he offers here.” Sharp Reply at 9 (emphasis in original).
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                                  13          The Court agrees with Defendants that Dr. Hausman’s opinion in LCD may be relevant for

                                  14   the limited purpose of impeachment insofar as it is inconsistent with the opinion he presents at

                                  15   trial. The Sharp DAPs argue the Court should grant the motion on this issue nevertheless because

                                  16   Dr. Hausman’s opinions are not in fact inconsistent. Whether they are inconsistent, however, is a

                                  17   question for the jury. The Sharp DAPs’ motion on this is issue is therefore DENIED.

                                  18          Whether it is relevant that Dr. Hausman offered opinions in LCD on behalf of Sharp

                                  19   companies and, assuming it is relevant, whether the probative value of that fact substantially

                                  20   outweighs any prejudicial effect under Rule 403 is a harder question. The potential impeachment

                                  21   value of introducing Dr. Hausman’s LCD opinion lies primarily in the extent to which it is

                                  22   inconsistent with the opinion he offers at trial. That Dr. Hausman’s purportedly inconsistent

                                  23   opinion in LCD was also on behalf of Sharp companies, however, would arguably undermine his

                                  24   credibility further. The Court will allow Defendants to make reference to the limited fact that Dr.

                                  25   Hausman prepared his LCD opinion on behalf of Sharp companies; however, Defendants are

                                  26   ordered not to present evidence or make reference to Sharp’s involvement in the LCD Conspiracy

                                  27   in the process. To the extent Defendants are unable to comply with that requirement – because,

                                  28   for example, the evidence may be inextricably intertwined on those issues – the Sharp DAPs’
                                                                                        15
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                                   1   motion is GRANTED given that the minimal probative value would then be substantially

                                   2   outweighed by the prejudicial effect of reference to unrelated litigation. See United States v. Hitt,

                                   3   981 F.2d 422, 424 (9th Cir. 1992) (“Where the evidence is of very slight (if any) probative value,

                                   4   it's an abuse of discretion to admit it if there's even a modest likelihood of unfair prejudice or a

                                   5   small risk of misleading the jury.”); see, e.g., In re Homestore.com, Inc., No. CV 01-11115, 2011

                                   6   WL 291176, at *1 (C.D. Cal. Jan. 25, 2011) (“[R]eference to or evidence of Plaintiff’s

                                   7   involvement in other litigation prior to this Action is also irrelevant and carries with it a high risk

                                   8   of prejudice.”); Hynix Semiconductor Inc. v. Rambus Inc., No. CV-00-20905, 2008 WL 504096,

                                   9   at *2 (N.D. Cal. Feb. 19, 2008) (excluding as substantially more prejudicial than probative

                                  10   evidence that would require explaining a separate litigation, “which the court has already ordered

                                  11   kept out of evidence absent good cause”); Rondor Music Int’l Inc. v. TVT Records LLC, No. CV

                                  12   05-2909-JTL, 2006 WL 5105272, at *10 (C.D. Cal. Aug. 21, 2006) (holding that reference to a
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                                  13   prior unrelated case “is unnecessary and would potentially result in unfair prejudice to plaintiffs or

                                  14   confusion of the issues”).

                                  15            In sum, Sharp’s motion is GRANTED IN PART and DENIED IN PART.9 Defendants are

                                  16   prohibited from introducing evidence of or reference to non-party Sharp Corp.’s guilty plea related

                                  17   to a conspiracy to fix the price of TFT-LCDs as well as evidence of or reference to the role of any

                                  18   Sharp companies in the events underlying the LCD litigation. Defendants may introduce Dr.

                                  19   Hausman’s LCD opinion for impeachment purposes only; however, in doing so, Defendants may

                                  20   not introduce evidence of or make reference to Sharp’s participation in the LCD Conspiracy.

                                  21   V.       CONCLUSION
                                  22            The Court finds as follows:

                                  23
                                       Motion                                               Ruling
                                  24
                                       Joint Defendants’ Motions In Limine Nos. 9 and 15
                                  25   To Exclude Evidence Related To A Rule Of Reason      DENIED
                                       Analysis
                                  26

                                  27
                                       9
                                  28    The Sharp DAP’s objection, see Sharp Reply at 4, 8, on relevance and Rule 403 grounds to
                                       Exhibits E, F & G to Defendants’ opposition brief is OVERRULED.
                                                                                      16
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                                   1   Joint Defendants’ Motion In Limine No. 10 To
                                       Exclude Evidence Of Any Alleged CDT Conspiracy       DENIED
                                   2

                                   3   Toshiba Defendants’ Motion In Limine To Exclude
                                                                                            DENIED
                                       Evidence Of Toshiba’s Sales To Sharp Corporation
                                   4

                                   5   Sharp’s Motion In Limine To Exclude Evidence Of
                                       Or Reference To Sharp Corp.’s Guilty Plea            GRANTED IN PART, DENIED IN PART
                                   6

                                   7
                                              IT IS SO ORDERED.
                                   8
                                       Dated: October 7, 2016
                                   9
                                                                                          ______________________________________
                                  10                                                                    JON S. TIGAR
                                                                                                  United States District Judge
                                  11

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